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 8                       United States District Court

 9                      Eastern District of California

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12   United States of America,

13              Plaintiff,             No. Mag. 05-166 PAN

14        vs.                          Detention Order

15   Michelle Lynn Stubblefield,

16              Defendant.

17                                    -oOo-

18   A.   Order For Detention

19        After conducting a detention hearing pursuant to 18 U.S.C. §
     3142(f) of the Bail Reform Act, the Court orders the above-named
20   defendant detained pursuant to 18 U.S.C. § 3142(e) and (i).

21   B.   Statement Of Reasons For The Detention

22        The Court orders the defendant's detention because it finds:

23
            X        By a preponderance of the evidence that no
24                   condition or combination of conditions will
                     reasonably assure the appearance of the defendant
25                   as required.

26          x        By clear and convincing evidence that no condition
                     or combination of conditions will reasonably assure
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 1                   the safety of any other person and the community.

 2   C.   Findings Of Fact

 3        The Court's findings are based on the evidence which was
     presented in Court and that which was contained in the Pretrial
 4   Services Report, and includes the following:

 5          x        (1) Nature       and Circumstances of the offense
                     charged.
 6
                 x         (a) The crime. 21 USC 841, 846; 18 USC 922(g).
 7
                           (b) The offense is a crime of violence.
 8
                           (c) The offense involves a narcotic.
 9
                           (d) The offense involves a large amount of
10                         controlled substances.

11          X        (2) The weight          of the evidence against the
                     defendant is high.
12
                     (3)   The history and characteristics of the
13                   defendant including:

14                   (a)   General Factors:

15                               The defendant appears to have a mental
                                 condition which may affect whether the
16                               defendant will appear.

17                               The defendant has no family ties in the
                                 area.
18
                                 The defendant has no steady employment.
19
                                 The defendant has no substantial
20                               financial resources.

21                               The defendant is not a long time resident
                                 of the community.
22
                                 The defendant does not have any
23                               significant community ties.

24                               Past conduct of the defendant:

25                               The defendant has a history relating to
                                 drug abuse.
26
                                         2
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 1                               The defendant has a significant prior
                                 criminal record.
 2
                                 The defendant has a prior record of
 3                               failure to appear at court proceedings.

 4                   (b)   Whether the defendant was on               probation,
                           parole, or release by a court;
 5
                     At the time of the current arrest, the defendant was
 6   on:

 7                               Probation.

 8                               Parole.

 9                               Release pending trial, sentence, appeal
                                 or completion of sentence.
10
                     (c)   Other Factors
11
                                 The defendant is an illegal alien and is
12                               subject to deportation.

13                               The defendant is a legal alien and will
                                 be subject to deportation if convicted.
14
                       x         Other: Unopposed motion.
15
            x        (4)   Rebuttable Presumptions
16
           In determining that the defendant should be detained, the
17         court also relied on the following rebuttable presumption(s)
           contained in 18 U.S.C. § 3142(e), which the court finds the
18         defendant has not rebutted:

19                         (a)   (1) The crime charged is one described in
                                 § 3142(f)(1)
20
                                      (A) a crime of violence; or
21
                                      (B) an offense for which the maximum
22                                    penalty is life imprisonment or
                                      death; or
23
                                      (C) a controlled substance violation
24                                    that has a maximum penalty of ten
                                      years or more; or
25
                                      (D)      a   felony   and      defendant
26
                                           3
       Case 2:05-cr-00248-GEB Document 4 Filed 06/10/05 Page 4 of 5


 1                                      previously was convicted of two or
                                        more of the offenses described in
 2                                      (A) through (C) above and

 3                           (2)   Defendant previously has been convicted
                                   of   one  of   the   crimes  listed  in
 4                                 subparagraph (1)(A)-(C), above and

 5                           (3)   The offense referred to in subparagraph
                                   (2) was committed while defendant was on
 6                                 release pending trial and

 7                           (4)   Not more than five years has elapsed
                                   since the date of conviction or release
 8                                 from   imprisonment   for  the   offense
                                   referred to in subparagraph (2).
 9
                    X        (b)   There is probable cause to believe that
10                                 defendant committed an offense for which
                                   a maximum term of imprisonment of ten
11                                 years or more is prescribed

12                       x         in the Controlled Substances Act, 21
                                   U.S.C. §§ 801, et seq.,
13
                                   the Controlled Substances Act , 21 U.S.C.
14                                 §§ 951, et seq.,

15                                 the Maritime Drug Law Enforcement Act, 46
                                   U.S.C. App. §§ 1901, et seq., or
16
                                   an offense under 18 U.S.C. §§ 924(c),
17                                 956(a), or 2332b.

18                                 an offense under 18 U.S.C. §§ 1201, 1591,
                                   2241, 2242, 2244(a)(1), 2245, 2251,
19                                 2251A,     2252(a)(1),      2252(a)(2),
                                   2252(a)(3),   2252A(a)(1),  2252A(a)(2),
20                                 2252A(a)(3), 2252A(a)(4), 2260, 2421,
                                   2422, 2423 or 2425.
21
     D.      Additional Directives
22
             Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs
23   that:

24        The defendant be committed to the custody of the Attorney
     General for confinement in a corrections facility separate, to the
25   extent practicable, from persons awaiting or serving sentences or
     being held in custody pending appeal; and
26
                                          4
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 1        The defendant be afforded reasonable opportunity for private
     consultation with his counsel; and
 2
          That, on order of a court of the United States, or request of
 3   an attorney for the Government, the person in charge of the
     corrections facility in which the defendant is confined deliver the
 4   defendant to a United States Marshal for the purpose of an
     appearance in connection with a court proceeding.
 5

 6        Dated: June 10, 2005.

 7

 8                                                 /s/ Peter A. Nowinski
                                                      Peter A. Nowinski
 9                                                    Magistrate Judge

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